                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                               Chapter 11

    FTX TRADING LTD., et al.,1                           Case No. 22-11068 (JTD)

              Debtors.                                   (Jointly Administered)


                                     CERTIFICATE OF SERVICE

             I, Kurt F. Gwynne, Esq., hereby certify that on June 7, 2024, a true and correct copy of

LIMITED OBJECTION OF FONDATION SERENDIPITY, FONDATION ELEMENTS,

SERENDIPITY NETWORK LTD AND LIQUIDITY NETWORK LTD TO MOTION OF

DEBTORS FOR ENTRY OF AN ORDER (I) APPROVING THE ADEQUACY OF THE

DISCLOSURE               STATEMENT;        (II)   APPROVING            SOLICITATION            PACKAGES;

(III) APPROVING THE FORMS OF BALLOTS; (IV) ESTABLISHING VOTING,

SOLICITATION AND TABULATION PROCEDURES; AND (V) ESTABLISHING

NOTICE AND OBJECTION PROCEDURES FOR THE CONFIRMATION OF THE

PLAN was (i) electronically filed via the Court’s CM/ECF system and thereby served on those

parties consenting to electronic service and (ii) served separately on the parties listed below via

electronic mail.




1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are
3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a
complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent
Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua
and Barbuda.
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Dated: June 7, 2024                              REED SMITH LLP
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